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                      UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF WEST VIRGINIA
                                                                                        FILED
  UNITED STATES OF AMERICA,
                                                                                       AUG 292023

  v.                                                 Criminal~o~3cc             ~
                                                     Violations:
  HARDY CARROLL LLOYD,                                           18 U.S.C. § 875(c)
                                                                 18 U.S.C. § 1503(a)
                         Defendant.                              18 U.S.C. § 1512(b)(1)



                                       INDICTMENT

       The Grand Jury charges that:

                                 GENERAL ALLEGATIONS

       At all times relevant to this Indictment, on or about the dates stated below:

                                         The Defendant

       1.      The defendant, HARDY CARROLL LLOYD, resided in Follansbee, Brooke

County, West Virginia, which is located approximately 40 miles from Pittsburgh, Pennsylvania.

       2.      LLOYD was a self-proclaimed “reverend” in a group called the Church of the

Creator, also known as the World Church of the Creator and the Creativity Movement. The

movement was formed by Ben Klassen in 1973. Adherents to this movement believe that race,

not religion, is the embodiment of absolute truth and that the white race is the highest expression

of culture and civilization. Jews and non-whites are considered inferior races who conspire to

subjugate whites.   The movement calls for a racial holy war, known by the adherents as

“RAHOWA.” Its adherents have sometimes taken up this call by committing violent hate crimes.




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                                      The Defendant’s Website

        3.      LLOYD operated a website with the web address creativityreligion.com (the

“Website”). The web addresses churchofbenklassen.org, creativityreligion.net, hardylloyd.net,

creativity 1973 .org, churchofbenklassen.net, and churchofbenklassen.com also automatically

navigate a visitor to the Website.

        4.      LLOYD maintained a page on the Website, titled “Enemies,” where he posted

personal information about several individuals “for Lone Wolves.” The term “lone wolf’ is often

used to describe an individual who acts alone to commit a violent attack, including mass murder,

in a public setting.

        5.      LLOYD invited visitors to the Website to subscribe to his email newsletter by

entering an email address into a space provided on the Website.

        6.      LLOYD listed two of his VKonatkte accounts on the website. VKonatkte is a

Russian online social media and social networking service based in Saint Petersburg, Russia. The

service is also known as “VK.”

                                     The Trial of Robert Bowers

        7.      A judicial proceeding involving the trial of Robert Bowers was pending in the

United States District Court for the Western District of Pennsylvania. Bowers had been charged

with several federal crimes for fatally shooting 11 individuals at the Tree of Life synagogue in

Pittsburgh in 2018.

        8.      During all times material to this Indictment, LLOYD knew of the existence of said

judicial proceeding.

        9.      On or about April 24, 2023, jury selection began.




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        10.      On or about May 25, 2023, jury selection concluded, resulting the selection of 12

jurors and six alternates.

        11.      On or about May 30, 2023, the trial began with opening statements.

        12.      On or about June 14, 2023, the government rested its case.

        13.      On or about June 15, 2023, the jury began its deliberations.

        14.      On or about June 16, 2023, the jury returned a verdict of guilty on all counts.

        15.      On or about June 26, 2023, the penalty phase of the trial began to determine

whether Bowers would receive the death penalty.

        16.      On or about July 13, 2023, the jury found Bowers eligible for the death penalty.

        17.      On or about August 3, 2023, the jury found that Bowers should be sentenced to the

death penalty.

                                            COUNT ONE

                         (Obstruction of the Due Administration of Justice)

        18.      The General Allegations of this Indictment are re-alleged and fully incorporated

here by reference.

        19.      Beginning in or about at least May 2023 and continuing through in or about June

2023, in Brooke County, in the Northern District of West Virginia, and elsewhere, the defendant,

HARDY CARROLL LLOYD, did corruptly endeavor to influence, obstruct, and impede the due

administration of justice in United States ofAmerica v. Robert Bowers, Criminal No. 18-292, in

the United States District Court for the Western District of Pennsylvania by engaging in

threatening conduct directed at the jury and government witnesses. The endeavor involved the

following acts, among others, which were committed and caused to be committed in the Northern

District of West Virginia and elsewhere:



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       20.     On or about May 17, 2023, LLOYD made the following post to the Website:

                                                      WELCOME TO THE
                                                      CHURCH OF BEN
                                                      KLASSEN
                                                                  Robert Bowers
                                                                    Is A Hero!!
                                                       Any juror who finds him guilty
                                                       is An Anti-White Criminal And
                                                           To Be Treated As Such!!

       21.     On or about May 17, 2023, LLOYD posted the following to one of his VK

accounts:

       Robert Bowers Did Pgh A Favour. Any juror who finds him guilty is guilty of anti-
       White racism!!

       22.     On or about May 17, 2023, LLOYD posted the following to one of his VK

accounts:

       FREE RICHARD BOWERS,                  PGH,     OR   ELSE    THERE     WILL    BE
       CONSIQUENCES [sic] !!!

       23.     On or about May 17, 2023, LLOYD sent an email to accounts belonging to several

Pittsburgh news outlets and to others, stating:

       We demand that Robert Bowers be freed. We shall be stickering, ‘legally’, Pgh
       starting next week and ending one week after the end of the trial. Stickers and
       flyers to go up in greater Pgh in support of Lone Wolf Hero Robert Bowers. We
       will also be publishing the PUBLIC names and addresses of those who vote against
       him via filing LEGALLY with the county seat for the trial records after the trial.
       Which is legal to do under PA law. Something for the people of Pgh to keep in
       mind as they vote on this great man. Remember, jurors, we WILL be watching and
       we WILL be taking pictures of ALL cars and people who leave the courthouse.
       And it’s 100% LEGAL to do this, too!! We will have members and supporters on
       the PUBLIC sidewalk and corners exercising their FREE SPEECH RIGHTS in
       taking photos of cars and people entering and leaving the courthouse, which is



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       LEGAL to do from PUBLIC areas, as SCOTUS has ruled that there is no
       expectation of privacy when in public or from public spaces. SUCK IT!!

       Send donations for stickers and flyers to Reverend Lloyd via CashApp. Or send
       stickers from TightRope as a donation.

       FREE BOWERS!!
       RAHOWA
       Rev. Lloyd, PM
       Church of Ben Klassen
       www.creativityreligion.com

       24.      On or about May 18, 2023, LLOYD made a post to the “enemies” page of the

Website, which included the following message:

   if anyone has the doxing info, icg~y, for the 70 jurors on the Richard Bowers
   triaL in Pgh, send to us so we can jçg~fly post said PUBLIC INFO as a usefuL
   guide to keep the trial honest Oh, and we WILL be fiLing at county records for
   their names and home/work addresses to LEGALLY POST after the triaL is over
   Which is keeping with PA state Laws regarding doxing of jurors post trial via
   PUBLIC INFO1’ Y’~aLL who are on the jury, make sure to vote what you know in
   your heart is moraLLy correct

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   FREE RICHARD BOWERS, CITY OF PITTSBURGH OR
   ELSE THERE WILL BE ‘LEGAL’ CONSIQUENCES !!!
       25.      On or about May 18, 2023, LLOYD included the following caption under the post

described in the previous paragraph:

 The Following People Are Anti-White Bigots Who Promote And/Or
 Commit Crimes Against Whites
 This page contains PUBLiCLY GATHERED info. 90% off their own social media accounts, of known anti-
 White bigots and cnminals This info is posted in keeping with US laws of Free Speech for Lone Wolves
 it is NOT ilLegaL to post this info nor to say it is for Lone WoLve& US Law aLLows such speech This wouLd
 ONLY be iLLegaL if we caLLed for actual direct action against them We are simply re-posting their own
 pubLicLy posted info and stating our OPiNIONS for Lone WoLves Which makes it 100% LEGALii

       26.      On or about May 19, 2023, LLOYD sent an email to accounts belonging to several

Pittsburgh news outlets and to others, stating:

       We will be filing for the names after the trial to publicly post on our enemies page
       in keeping with PA state law. We are allowed to post said info to LWs as part of

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          1A protected speech. Those who vote against this great man must keep this in
          mind!!

          27.       On or about May 19, 2023, LLOYD sent an email, with the subject “Ouch,” to an

address with “creator” in the account name, carbon copied accounts belonging to several

Pittsburgh news outlets, and attached a photograph of a gunman shooting a woman in the face

from the first-person point of view of the gunman, stating:

          This woman was a juror on a case and voted against the defendant.
          After the trial some asshole posted her PUBLIC record onto social media.
          Bitch went to the grocery store.
          She never came home.
          Guess she should have voted the White way?!?

          Looks like it hurt.

          28.       Between on or about May 19 and 20, 2023, LLOYD placed, and caused to be

placed,     white     supremacy themed     stickers       in   Pittsburgh, bearing the   web   address

churchofbenklassen.org, which directs visitors to the Website, as depicted in the following images:




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       29.     On or about May 30, 2023, LLOYD sent an email to accounts belonging to several

Pittsburgh news outlets and to others, stating:

        We have struck Pittsburgh and shall continue to pass out flyers until Richard
       Bowers, the great WHITE hero of Pgh, is freed. We shall also file for the names of
       the jury once it is over to make sure they voted the right way. If Bowers is not freed
       then we shall not only up our flyers, but also make PGH sorry. We cannot state
       what this is, of course. Don’t want to say anything NOT covered under the 1A. But
       just know that any guilty verdict could bring down the wrath of lone wolves in the
       region. Not saying we would directly do or plan anything. But know that lone
       wolves will do something, and we cannot prevent them, nor would we want to. Free
       this great WHITE hero! RAHOWA Pgh Congregation of the CoBK Contact this
                                            —                                  -


        email, Lisa’s email, or Reverend Lloyd’s email.

       30.     On or about May 30, 2023, LLOYD sent an email to accounts belonging to a

Pittsburgh news outlet, stating:

       Our Church has been passing our flyers in Western PA and Ohio supporting
       Bowers. We are also going to file for the names and addresses of the jury once it’s
       over to check and see who voted against him. Which is legal to do in PA.

       Any questions?




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       31.        On or about June 2, 2023, LLOYD made the following post to the “enemies” page

of the Website:

       Members of Pittsburgh’s Jew community enter the Federal courthouse in
       Pittsburgh for the first day of triaL for Robert Bowers. May 30, 2023, in
       Pittsburgh. Taken from jew media. So, kind of funny. Lol Below are pics of
                                                                       -


       those who supported the jews during and after the so-called ‘shooting’~.
       Most Live in the Pgh region, and a majority are probabLy jews. If you have
       the personaL info on anyone pictured here please send to us so we can post
       it here. ALL pics taken from pubLicLy posted media posts.

       32.        The post included a collage of photographs. The photographs in the post depict

several witnesses to Bowers’ attack, some of whom had already testified at the trial before the date

of the post and some of whom would testify before the end of the trial. The post included multiple

photographs of an individual referred to herein as WITNESS 1.

       33.        On or about June 3, 2023, LLOYD made a post to the “enemies” page of the

Website that included the photograph of WITNESS 1. The post included the name of WITNESS 1

and that WITNESS 1 was “of Squirrel Hill,” a neighborhood in Pittsburgh. The post was made

under the caption:

This page contains PUBLICLY GATHERED info, 90% off their own sociaL media accounts, of known
anti-White bigots and criminals This info is posted, in keeping with US laws of Free Speech, for Lone
Wolves It is NOT illegal to post this info, nor to say it is for Lone Wolves US Law allows such speech
This would ONLY be illegal if we calLed for actuaL direct action against them We are simpLy re
posting their own publicly posted info, and stating our OPINIONS for Lone Wolves Which makes it
100% LEGALII

       In violation of Title 18, United States Code, Section 1503(a).




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                                         COUNT TWO

                   (Transmitting Threats in Interstate and Foreign Commerce)

       1.      The General Allegations of this Indictment and paragraph 27 of Count One of this

Indictment are re-alleged and fully incorporated here by reference.

       2.      On or about May 19, 2023, in Brooke County, in the Northern District of West

Virginia, the defendant, HARDY CARROLL LLOYD, did knowingly transmit in interstate and

foreign commerce an email communication over the Internet containing a threat to injure the

person of another. Specifically, LLOYD, intending to communicate a threat of personal injury to

the jury serving in the trial of United States ofAmerica v. Robert Bowers, Criminal No. 18-292, in

the United States District Court for the Western District of Pennsylvania, sent an email, with the

subject “Ouch,” to an address with “creator” in the account name, carbon copied accounts

belonging to several Pittsburgh news outlets, and attached a photograph of a gunman shooting a

woman in the face from the first-person point of view of the gunman, stating:

       This woman was a juror on a case and voted against the defendant.
       After the trial some asshole posted her PUBLIC record onto social media.
       Bitch went to the grocery store.
       She never came home.
       Guess she should have voted the White way?!?

       Looks like it hurt.

       In violation of Title 18, United States Code, Section 875(c).




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                                        COUNT THREE

                                      (Witness Tampering)

       1.       The General Allegations of this Indictment and paragraphs 31 through 33 of Count

One of this Indictment are re-alleged and fully incorporated here by reference.

       2.       On or about June 2, 2023 and June 3, 2023, in Brooke County, in the Northern

District of West Virginia, the defendant, HARDY CARROLL LLOYD, did knowingly attempt

to intimidate, threaten, and corruptly persuade WITNESS 1 by making the posts to the “enemies”

page of the Website, as further described in paragraphs 31 through 33 of Count One of this

Indictment, with the intent to influence, delay, and prevent the testimony of WITNESS 1 in an

official proceeding, specifically the trial being conducted in United States ofAmerica v. Robert

Bowers, Criminal No. 18-292, in the United States District Court for the Western District of

Pennsylvania.

       In violation of Title 18, United States Code, Section 1512(b)(1).

                                                     A true bill,



                                                     Is!
                                                     Foreperson



Is! William Ihienfeld
WILLIAM IHLENFELD
United States Attorney

Jarod J. Douglas
Assistant United States Attorney

Randolph J. Bernard
Assistant United States Attorney




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